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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

CAITLIN KNOTTS,                                )
on behalf of Plaintiff and the class           )
members described herein,                      )
                                               )
                        Plaintiff,             )
                                               )
                v.                             )         Case No 22-cv-1370
                                               )
BIBOON, LLC doing business as                  )
Bridge Lending Solutions;                      )
LDF HOLDINGS, LLC;                             )         DEMAND FOR TRIAL BY JURY
MELINDA WALKER;                                )
and JOHN DOES 1-20,                            )
                                               )
                Defendants.                    )

                                 COMPLAINT – CLASS ACTION

        1.      Plaintiff, Caitlin Knotts, brings this action against Defendants (a) Biboon, LLC doing

business as Bridge Lending Solutions; (b) LDF Holdings, LLC; (c) Melinda Walker; and (d) John

Does 1-20 to secure redress for usurious and illegal loans (such as Exhibit A) made to Indiana

residents.

        2.      Plaintiff seeks damages under the Indiana Consumer Credit Code (Count I) and

treble damages under RICO (Count II).

                                     JURISDICTION AND VENUE

        3.      The Court has subject matter jurisdiction under 28 U.S.C. §1331, 18 U.S.C. §1964,

28 U.S.C. §1337, and 28 U.S.C. §1367. Jurisdiction may also exist under 28 U.S.C. §1332(d), in that

the amount in controversy on a classwide basis exceeds $5 million, exclusive of interest and costs,

and in that there are believed to be over 100 members of the class, all of whom are of diverse

citizenship to Defendants.

        4.      This Court has personal jurisdiction over each Defendant because they knowingly

participated in the making of unlawful loans to Indiana residents.

        5.      Venue is proper because acts to collect the loans impacted Plaintiff in the Southern


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District of Indiana.

        6.      As set forth below, Defendants operate interactive websites through which they

sought to and did make loans to Indiana residents. The use of an interactive website which permits

Indiana residents (but not residents of specified other states) to apply for loans, along with the

making and collecting of loans within the state, establishes a purposeful availment of Indiana and is

sufficient to establish personal jurisdiction over the defendants responsible for the site. Toys “R” Us,

Inc., v. Step Two, 318 F.3d 446, 454 (3rd Cir. 2003).

                                               PARTIES

                                                 Plaintiff

        7.      Plaintiff Caitlin Knotts is a natural person who at all times relevant has resided

in Indianapolis, Indiana.

                                               Defendants

        8.      Defendant LDF Holdings, LLC (“LDF Holdings”) is a limited liability company

chartered under Wisconsin law. (Exhibit B) Its registered agent and office is Elise Susnik, 3471

County Rd. NN, West Bend, WI 53095. It claims to be wholly owned, indirectly, by the Lac du

Flambeau Band of Lake Superior Chippewa Indians (the “LDF Tribe”). Its website claims that

“LDF Holdings owns and manages the entire online lending business.”

(https://ldf-holdings.com/about/)

        9.      The LDF Tribe is a small, isolated, and economically depressed Indian Tribe located

in rural Wisconsin.

        10.     Defendant Melinda Walker is the Director of Lending Operations of LDF Holdings,

LLC. (Exhibit C) She was previously Compliance Agent for LDF Holdings LLC.

        11.     As Director of Lending Operations, Walker conducts the high-interest lending

activities complained of herein, and directs and controls the lending activities, policies and

practices of LDF Holdings, LLC.

        12.     Defendant Biboon, LLC d/b/a Bridge Lending Solutions is a limited liability


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company that conducts online lending at high interest rates, in excess of 500%. It does business via

its website, www.BridgeLendingSolutions.com.

        13.     Biboon, LLC d/b/a Bridge Lending Solutions has been held out as a portfolio

company of LDF Holdings, LLC. (Exhibit D, p. 3)

        14.     Biboon, LLC d/b/a Bridge Lending Solutions claims to be a “wholly owned and

operated Native American business organized under the Laws of the Lac Du Flambeau Band of

Lake Superior Chippewa Indians, a Federally Recognized Indian Tribe and Sovereign Nation located

within the Interior Boundaries of the Lac Du Flambeau Reservation of Wisconsin United States of

America.”

        15.     In fact, as described below, the principal economic benefit of the activities of

Biboon, LLC d/b/a Bridge Lending Solutions is received by non-Native American persons.

        16.     Defendants John Does 1-20 are other persons and entities that participated in the

lending activities described herein.

        17.     A number of non-Indian persons and entities have filed security interests against the

receivables and assets of Biboon, LLC, which consist of the high-interest loans at issue.

        18.     On information and belief, these persons and entities have provided the funds for

making the loans at issue, and receive most of the profit generated by these loans. There is no other

reason for non-Indian persons and entities to take security interests in high-interest loans supposedly

owned by an Indian tribe.

        19.     These persons and entities include:

                a.      Anthony Henry Williams Trust, 17927 N. Parkview Pl., Sun City, AZ

                        85374-3441.

                b.      Anthony Williams, Shakina Denise Williams Trust, 17927 N. Parkview Pl.,

                        Sun City, AZ 85374-3441.

                c.      Viitrump Family Trust, 23745 W. Watkins St., Buckeye, AZ 85326-3518 or

                        17927 N. Parkview Pl., Sun City, AZ 85374-3441.


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        20.     The Doe Defendants may be these persons or their associates.

        21.     An article published in the LDF Tribe’s newsletter, Inwewin, in July 2013 noted

that the tribe had embarked on a new internet lending business. The article stated that “some view

payday loan and internet lending businesses as predatory, with companies taking advantage of

individuals already in unpleasant financial situations.” The article also stated that “the Tribe has

partnered with one of the largest and most experienced lending companies.” (Exhibit E)

        22.      Lacking both capital and experience, and in desperate need of money, the tribe

attempted to rent out one of its few remaining assets – its sovereign immunity – to non-tribal

persons and entities who agreed to pay the LDF Tribe a small percentage of each loan as a fee or

commission.

        23.     Within a short period of time, the LDF Tribe became one of the most prolific

suppliers in the rental market for sovereign immunity, making “rent-a-tribe” agreements with over

50 different non-tribal investors.

        24.      The LDF Tribe received between one and three percent of revenues from each of

these lenders in exchange for the use of their name.

        25.     Loan approval was made by the non-tribal owners of Biboon, LLC d/b/a Bridge

Lending Solutions. Electronic documents were transmitted to a representative on LDF tribal soil in

Wisconsin, who rubber-stamped approval for the loan while technically on the LDF Tribe’s

reservation. The loans are then funded from bank accounts to which the tribe has no access, and the

loans are serviced and collected by nontribal entities off the LDF Tribe’s reservation.

        26.     Brent McFarland, then the LDF Tribe’s director of business development, told the

Milwaukee Journal Sentinel that “we’re looking for ways to leverage (the tribe’s) sovereignty” for

profit. Cary Spivak, “Lac du Flambeau Cheppewa enter payday loan business with eye to online

gambling,” Milwaukee Journal Sentinel, Dec. 29, 2013, http://archive.jsonline.com/business/lac-

du-flambeau-chippewa-enter-payday-loan-business-with-eye-to-online-gambling-b99164952zl-

237906421.html. (Exhibit F)


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                                       DEFENDANTS’ LOANS

        27.       Biboon, LLC d/b/a Bridge Lending Solutions makes loans through its website,

www.BridgeLendingSolutions.com, to consumers at interest rates in excess of 800% annually.

(Exhibit A)

        28.       Biboon, LLC d/b/a Bridge Lending Solutions does business in Indiana over the

Internet, via text message, via Automated Clearing House transactions, and over the telephone.

        29.       Many of the loans made by Biboon, LLC d/b/a Bridge Lending Solutions are made

to Indiana residents, including Caitlin Knotts.

        30.       These residents have received funds via ACH transfers into bank accounts located

in Indiana. The loans also provide for repayment via ACH transfers.

        31.       Biboon, LLC d/b/a Bridge Lending Solutions’s website states

(https://bridgelendingsolutions.com/homepage) that “Bridge Lending Solutions does not lend in

the following states: Arkansas, Colorado, Connecticut, District of Columbia (D.C.), Georgia, Illinois,

Maine, Maryland, Massachusetts, Minnesota, Montana, New Hampshire, New Jersey, New Mexico,

New York, North Carolina, Oregon, Pennsylvania, Washington, Wisconsin, Vermont, Virginia or

West Virginia.”

        32.       Indiana is not on the excluded list.

        33.       Biboon, LLC d/b/a Bridge Lending Solutions thus affirmatively sought out Indiana

residents for such loans.

        34.       The funds lent are transferred by ACH credit to the borrowers’ bank accounts

throughout the United States.

        35.       Repayment of the loans is made by ACH debit from the borrowers’ bank accounts

throughout the United States.

          SOVEREIGN IMMUNITY AS A DEFENSE TO STATE USURY LAWS

        36.       An entity must function as a legitimate “arm of the tribe” in order to fall

under that tribe’s sovereign immunity. See Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino &


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Resort, 629 F.3d 1173, 1183 (10th Cir. 2010).

        37.     To determine if a particular entity is entitled to sovereign immunity, the majority

of courts have adopted the framework laid out in Breakthrough, which analyzed “(1) [the entities’]

method of creation; (2) their purpose; (3) their structure, ownership, and management, including the

amount of control the tribe has over the entities; (4) whether the tribe intended for the entities to

have tribal sovereign immunity; (5) the financial relationship between the tribe and the entities; and

(6) whether the purposes of tribal sovereign immunity are served by granting immunity to the

entities.” Breakthrough at 1183, 1187-88.

        38.     An entity that “actually operates to enrich primarily persons outside the tribe or only

a handful of tribal leaders” shows that it is not entitled to immunity. People ex rel. Owen v. Miami

Nation Enterprises, 2 Cal. 5th 222, 211 Cal. Rptr. 3d 837, 386 P.3d 357 (2016).

        39.     These so-called “tribal lenders” usually do not survive scrutiny when examined

closely, since virtually all business functions occur far from tribal land, by nontribal members, and

overwhelmingly benefit non-tribal members to such a degree that tribal involvement is effectively

nil.

        40.     Where non-tribal individuals and entities control and manage the substantive

lending functions, provide the lending capital necessary to support the operation, and bear the

economic risk associated with the operation, they are not in fact “operated” by Native American

tribes and, therefore, are not shielded by sovereign immunity.

        41.     Further, sovereign immunity, even if legitimately invoked, still does not turn an

otherwise illegal loan into a legal one. See, e.g., United States v. Neff, 787 F. App’x 81 (3d Cir. 2019)

(upholding criminal convictions of two individuals engaged in an online payday lending rent-a-tribe

scheme; sovereign immunity does not transform illegal loans into legal ones, and “reasonable people

would know that collecting unlawful debt is unlawful”).

        42.     Attempting to circumvent state interest rate caps by fraudulently hiding behind tribal

sovereign immunity has been found to constitute criminal conduct. On October 13, 2017, a jury in


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the U.S. District Court for the Southern District of New York convicted Scott Tucker and Timothy

Muir on 14 felony counts for their operation of a network of tribal lending companies. See United

States v. Tucker, et al., No. 1:16-cr-00091-PKC (S.D.N.Y). The conviction was affirmed in United States

v. Grote, 961 F.3d 105 (2d Cir. 2020).

                                         LOAN TO PLAINTIFF

        43.     On or about April 18, 2022, Biboon, LLC made a loan to Plaintiff (Exhibit A) for

$300. The loan would result in repayment of $1,605.00 if paid every 14 days for nine months. The

total interest charged would be $1305.00, which according to Biboon, LLC equates to an annual

percentage rate of 824.97%.

        44.     The loan agreement (Exhibit A) is a standard form.

        45.     The loan was made for personal purposes and not for business purposes.

        46.     The principal amount was transferred to Plaintiff’s bank account in Indiana via

ACH.

        47.     The loan was made entirely via the Internet.

        48.     The loan was to be repaid via ACH.

        49.     Plaintiff made some of the payments, including interest.

        50.     Defendants’ lending does not actually occur on the Tribe’s reservation.

        51.     A significant majority of the transaction occurs within the State of Indiana –

applying for the loan and receiving and collecting the funds.

        52.     The place where a consumer is located when he or she submits an application via an

online portal with a Native American tribe determines where the transaction takes place for

jurisdictional purposes. California v. Iipay Nation of Santa Ysabel, 898 F.3d 960, 968 (9th Cir. 2018)

(“However, the patrons’ act of placing a bet or wager on a game of DRB while located in California

constitutes gaming activity that is not located on Indian lands, violates the UIGEA, and is not

protected by IGRA.”).

        53.     Plaintiff has never set foot on the LDF Tribe’s land.


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       54.     Loans to Indiana residents made in the same manner as the loan to Plaintiff are

governed by the laws of the State of Indiana.

                           INDIANA REGULATION OF LENDING

       55.     The Indiana Uniform Consumer Credit Code, Ind. Code §24-4.5-3-201, establishes a

maximum loan finance charge of 36% per annum for consumer loans other than supervised loans. It

provides:

       (1) Except as provided in subsections (7) and (9), with respect to a consumer loan, other
       than a supervised loan (as defined in section 501 [IC 24-4.5-3-501] of this chapter), a lender
       may contract for a loan finance charge, calculated according to the actuarial method, not
       exceeding twenty-five percent (25%) per year on the unpaid balances of the principal (as
       defined in section 107(3) [IC 24-4.5-3-107(3)] of this chapter). . . .

       56.     With respect to supervised loans, the Indiana Uniform Consumer Credit Code, Ind.

Code §24-4.5-3-508, provides:

       Loan finance charge for supervised loans.

       (1) With respect to a supervised loan, including a loan pursuant to a revolving loan account,
       a supervised lender may contract for and receive a loan finance charge not exceeding that
       permitted by this section.

       (2) The loan finance charge, calculated according to the actuarial method, may not exceed
       the equivalent of the greater of:

               (a) the total of:

                       (i) thirty-six percent (36%) per year on that part of the unpaid balances of the
                       principal (as defined in section 107(3) [IC 24-4.5-3-107(3)] of this chapter)
                       which is two thousand dollars ($2,000) or less;

                       (ii) twenty-one percent (21%) per year on that part of the unpaid balances of
                       the principal (as defined in section 107(3) of this chapter) which is more than
                       two thousand dollars ($2,000) but does not exceed four thousand dollars
                       ($4,000); and

                       (iii) fifteen percent (15%) per year on that part of the unpaid balances of the
                       principal (as defined in section 107(3) of this chapter) which is more than
                       four thousand dollars ($4,000); or

               (b) twenty-five percent (25%) per year on the unpaid balances of the principal (as
               defined in section 107(3) of this chapter). . . .

       57.     There is also a provision for small loans, Ind. Code § 24-4.5-7-101 et seq., but it



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does not authorize 788.67% rates, and requires that small loans conform to other requirements that

Defendants’ loans do not comply with.

       58.     Ind. Code. § 24-4.5-7-201, “Limitations on finance charges,” provides:

       (1) Finance charges on the first two hundred fifty dollars ($250) of a small loan are limited to
       fifteen percent (15%) of the principal.

       (2) Finance charges on the amount of a small loan greater than two hundred fifty dollars
       ($250) and less than or equal to four hundred dollars ($400) are limited to thirteen percent
       (13%) of the amount over two hundred fifty dollars ($250) and less than or equal to four
       hundred dollars ($400).

       (3) Finance charges on the amount of the small loan greater than four hundred dollars ($400)
       and less than or equal to five hundred fifty dollars ($550) are limited to ten percent (10%) of
       the amount over four hundred dollars ($400) and less than or equal to five hundred fifty
       dollars ($550).

       (4) The amount of five hundred fifty dollars ($550) in subsection (3) is subject to change
       under the provisions on adjustment of dollar amounts (IC 24-4.5-1-106). However,
       notwithstanding IC 24-4.5-1-106(1), the Reference Base Index to be used under this
       subsection is the Index for October 2006.

       59.     The amount of finance charge provided for in Exhibit A is more than double that

permitted in Indiana under any provision.

       60.     Ind. Code §24-4.5-1-201, “Territorial application,” provides:

       (1) Except as otherwise provided in this section, this article applies to sales, leases, and loans
       made in this state and to modifications, including refinancings, consolidations, and deferrals,
       made in this state, of sales, leases, and loans, wherever made. For purposes of this article, the
       following apply: . . .

               (c) A loan or modification of a loan agreement is made in this state if a writing
               signed by the debtor and evidencing the debt is received by the lender or a person
               acting on behalf of the lender in this state.

               (d) Except as provided in subdivisions (e) and (f), a sale, lease, or loan transaction
               occurs in Indiana if a consumer who is a resident of Indiana enters into a consumer
               sale, lease, or loan transaction with a creditor or a person acting on behalf of the
               creditor in another state and the creditor or the person acting on behalf of the
               creditor has advertised or solicited sales, leases, or loans in Indiana by any means,
               including by mail, brochure, telephone, print, radio, television, the Internet, or
               electronic means.

               (e) A sale, lease, or loan transaction does not occur in Indiana if a consumer who is a
               resident of Indiana enters into a consumer sale, lease, or loan transaction secured by
               an interest in land located outside Indiana.



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               (f) A sale, lease, or loan transaction does not occur in Indiana if a consumer who is a
               resident of Indiana enters into a consumer sale, lease, or loan transaction at a
               creditor’s place of business in another state.

       For purposes of subdivisions (a) through (c), an offer is received by a creditor or a person
       acting on behalf of the creditor in Indiana if the offer is physically delivered, or otherwise
       transmitted or communicated, to a person who has actual or apparent authority to act for
       the creditor or the person acting on behalf of the creditor in Indiana, regardless of whether
       approval, acceptance, or ratification by any other agent or representative of the creditor or
       the person acting on behalf of the creditor in another state is necessary to give legal
       consequence to the consumer credit transaction. . . .

       (5) Notwithstanding other provisions of this section:

               (a) except as provided in subsection (2), this article does not apply if the buyer,
               lessee, or debtor is not a resident of this state at the time of a credit transaction and
               the parties then agree that the law of the buyer’s, lessee’s, or debtor’s residence
               applies; and

               (b) this article applies if the buyer, lessee, or debtor is a resident of this state at the
               time of a credit transaction and the parties then agree that the law of this state
               applies.

       (6) Except as provided in subsection (5), the following agreements by a buyer, lessee, or
       debtor are invalid with respect to consumer credit sales, consumer leases, consumer loans, or
       modifications thereof, to which this article applies:

               (a) An agreement that the law of another state shall apply.

               (b) An agreement that the buyer, lessee, or debtor consents to the jurisdiction of
               another state.

               (c) An agreement that fixes venue. . . .

       (8) If a creditor or a person acting on behalf of the creditor has violated the provisions of
       this article that apply to the authority to make consumer loans (IC 24-4.5-3-502), the loan is
       void and the debtor is not obligated to pay either the principal or loan finance charge, as set
       forth in IC 24-4.5-5-202.

       61.     Ind. Code §24-4.5-5-202, “Effect of violations on rights of parties,” provides:

       . . . (3) A debtor is not obligated to pay a charge in excess of that allowed by this Article,
       and if the debtor has paid an excess charge the debtor has a right to a refund . A
       refund may be made by reducing the debtor’s obligation by the amount of the excess charge.
       If the debtor has paid an amount in excess of the lawful obligation under the agreement, the
       debtor may recover the excess amount from the person who made the excess charge or from
       an assignee of that person’s rights who undertakes direct collection of payments from or
       enforcement of rights against debtors arising from the debt.

       (4) If a debtor is entitled to a refund and a person liable to the debtor refuses to make
       a refund within a reasonable time after demand, the debtor may recover from that

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           person a penalty in an amount determined by a court not exceeding the greater of
           either the amount of the credit service or loan finance charge or ten (10) times the
           amount of the excess charge. If the creditor has made an excess charge in deliberate
           violation of or in reckless disregard for this Article, the penalty may be recovered
           even though the creditor has refunded the excess charge. No penalty pursuant to this
           subsection may be recovered if a court has ordered a similar penalty assessed against the
           same person in a civil action by the department (IC 24-4.5-6-113). With respect to excess
           charges arising from sales made pursuant to revolving charge accounts or from loans made
           pursuant to revolving loan accounts, no action pursuant to this subsection may be brought
           more than two (2) years after the time the excess charge was made. With respect to excess
           charges arising from other consumer credit sales or consumer loans, no action pursuant to
           this subsection may be brought more than one (1) year after the due date of the last
           scheduled payment of the agreement pursuant to which the charge was made. . . .

           (7) If the creditor establishes by a preponderance of evidence that a violation is unintentional
           or the result of a bona fide error, no liability is imposed under subsections (1), (2), and (4)
           and the validity of the transaction is not affected.

           (8) In any case in which it is found that a creditor has violated this Article, the court may
           award reasonable attorney’s fees incurred by the debtor. . . . (Emphasis added)

           62.     Defendants have been warned by state authorities that their lending operations are

 illegal. E.g., Washington Department of Financial Institutions notice. (Exhibit B)

           63.     The excessive interest charges imposed by Defendants were willful.

                 COUNT I – INDIANA UNIFORM CONSUMER CREDIT CODE

           64.     Plaintiff incorporates paragraphs 1-63.

           65.     Because the loan made to Plaintiff violated the rate limits set by Indiana law, and the

 violation was intentional, Plaintiff and other borrowers are entitled to ten (10) times the amount of

 the excess charge.

                                         CLASS ALLEGATIONS

           66.     Plaintiff brings this claim on behalf of a class, pursuant to Fed.R.Civ.P. 23(a) and

 (b)(3).

           67.     The class consists of (a) all individuals with Indiana addresses (b) to whom a loan

 was made in the name of Biboon, LLC d/b/a Bridge Lending Solutions at more than 36% interest

 (all of its loans qualify) (c) on or after a date two years prior to the filing of this action.

           68.     Plaintiff may alter the class definition to conform to developments in the case and



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 discovery.

         69.      The class is so numerous that joinder of all members is not practicable. On

 information and belief, based on the making of loans over the Internet using form documents, there

 are at least 40 class members.

         70.      There are questions of law and fact common to the class members, which common

 questions predominate over any questions relating to individual class members. The predominant

 common questions are whether Defendants engage in a practice of making and attempting to collect

 illegal loans.

         71.      Plaintiff will fairly and adequately represent the class members. Plaintiff has retained

 counsel experienced in class actions and consumer credit litigation.

         72.      Plaintiff’s claims are typical of the claims of the class members. All are based on the

 same factual and legal theories.

         73.      Defendants have acted on grounds that apply generally to the class, so that final

 injunctive relief or corresponding declaratory relief is appropriate.

         74.      The class is entitled to a declaration that Defendants are not entitled to collect on the

 loans described, an injunction against any further collection efforts by Defendants, and restitution of

 all such amounts collected by Defendants.

         WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

 against Defendants for:

                          i.        A declaration that the loans are void and need not be repaid;

                          ii.       Statutory damages;

                          iii.      Attorney’s fees, expenses and costs; and

                          iv.       Such other or further relief as is appropriate.

                                            COUNT II – RICO

         75.      Plaintiff incorporates paragraphs 1-63.

         76.      This claim is against Walker and the Does, who are the RICO “persons.”


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         77.     All loans made in the name of Biboon, LLC d/b/a Bridge Lending Solutions to

 Indiana residents are (a) unenforceable under Indiana law in whole or in part as to principal or

 interest because of the laws relating to usury, and (b) were incurred in connection with the business

 of lending money at a rate usurious under Indiana law, where (c) the usurious rate is at least twice

 the enforceable rate (36%).

         78.     The loans are therefore “unlawful debts” as defined in 18 U.S.C. §1961(6).

         79.     Biboon, LLC d/b/a Bridge Lending Solutions is an enterprise affecting interstate

 commerce, in that it is located outside of Indiana and makes loans to Indiana residents via the

 Internet.

         80.     Defendants Walker and the Does are associated with this enterprise.

         81.     Defendant Walker and the Does conducted or participated in the conduct of the

 affairs of Biboon, LLC d/b/a Bridge Lending Solutions through a pattern of collection of unlawful

 debt, as set forth above, in violation of 18 U.S.C. §1962(c).

         82.     Plaintiff was deprived of money as a result.

                                        CLASS ALLEGATIONS

         83.     Plaintiff brings this claim on behalf of a class.

         84.     The class consists of (a) all individuals with Indiana addresses (b) to whom a loan

 was made in the name of Biboon, LLC d/b/a Bridge Lending Solutions at more than 36% interest

 (all of its loans qualify) (c) which loan was made on or after a date 4 years prior to the filing of suit.

         85.     The class is so numerous that joinder of all members is not practicable. On

 information and belief, based on the making of loans over the Internet using form documents, there

 are at least 40 class members.

         86.     There are questions of law and fact common to the class members, which common

 questions predominate over any questions relating to individual class members. The predominant

 common questions are:

                 a.       Whether the loans at issue are “unlawful debts” as defined in RICO.


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                 b.      Whether Biboon, LLC d/b/a Bridge Lending Solutions is an “enterprise.”

                 c.      Whether Defendant Walker is associated with Biboon, LLC.

                 d.      Whether the Does are associated with Biboon, LLC.

                 e.      Whether Defendants Walker and the Does conducted or participated in the

                         affairs of Biboon, LLC d/b/a Bridge Lending Solutions through a pattern of

                         making and collecting unlawful loans.

         87.     Plaintiff will fairly and adequately represent the class members. Plaintiff has retained

 counsel experienced in class actions and consumer credit litigation.

         88.     Plaintiff’s claim is typical of the claims of the class members. All are based on the

 same factual and legal theories.

         89.     A class action is superior for the fair and efficient adjudication of this matter, in that:

                 a.      Individual actions are not economically feasible.

                 b.      Members of the class are likely to be unaware of their rights.

         WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

 against Defendant Walker and the Does for:

                         i.         Treble damages;

                         ii.        Attorney’s fees, litigation expenses and costs of suit; and

                         iii.       Such other or further relief as the Court deems proper.


                                                             /s/Daniel A. Edelman
                                                             Daniel A. Edelman

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                                          JURY DEMAND

       Plaintiff demands trial by jury.



                                                     /s/Daniel A. Edelman
                                                     Daniel A. Edelman

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                               NOTICE OF ASSIGNMENT

       Please be advised that all rights relating to attorney’s fees have been assigned to counsel.


                                                        /s/Daniel A. Edelman
                                                        Daniel A. Edelman

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                           DOCUMENT PRESERVATION DEMAND

          Plaintiff hereby demands that each Defendant take affirmative steps to preserve all
 recordings, data, documents, and all other tangible things that relate to Plaintiff, class members, the
 events described herein, any third party associated with any telephone call, campaign, account, sale
 or file associated with Plaintiff, and any account or number or symbol relating to them. These
 materials are likely very relevant to the litigation of this claim. If any Defendant is aware of any third
 party that has possession, custody, or control of any such materials, Plaintiff demands that
 Defendant request that such third party also take steps to preserve the materials. This demand shall
 not narrow the scope of any independent document preservation duties of the Defendant.




                                                 /s/ Daniel A. Edelman
                                                 Daniel A. Edelman




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